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                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


  PARKERVISION, INC.,

               Plaintiff                      Case No. 6:22-cv-01163-ADA


              v.                              JURY TRIAL DEMANDED


  MEDIATEK INC. AND MEDIATEK
  USA INC.,

               Defendants


                           CASE READINESS STATUS REPORT

      Plaintiff ParkerVision, Inc. and Defendants MediaTek Inc. and MediaTek

USA Inc. hereby provide the following status report.

                                        SCHEDULE

      A scheduling order has not yet been filed.

                                FILING AND EXTENSIONS

              Plaintiff’s Complaint was filed on November 10, 2022. There has been

one extension for a total of 44 days.

                            RESPONSE TO THE COMPLAINT

      Defendants filed an Answer and Counterclaims on April 12, 2023 (ECF No.

19). No counterclaims were filed other than counterclaims for non-infringement or

invalidity.
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                                  PENDING MOTIONS

         There are no pending motions.

                   RELATED CASES IN THIS JUDICIAL DISTRICT

         ParkerVision, Inc. v. Realtek Semiconductor Corp., 6:22-cv-01162-ADA (filed

Nov. 10, 2022) is a CRSR Related Case, pursuant to OGP v. 4.3.

         ParkerVision has also asserted one or more common patents in the following,

pending cases in this Judicial District:

            ParkerVision, Inc. v. TCL Indus. Holdings Co., Ltd., 6:20-cv-00945-ADA (filed

            Oct. 12, 2020) (currently stayed)

            ParkerVision, Inc. v. LG Elecs. Inc., 6:21-cv-00520-ADA (filed May 22, 2023)

            (currently stayed)

                        IPR, CBM, AND OTHER PGR FILINGS

         Asserted U.S. Patent No. 6,266,518 was the subject of IPR2014-00946, filed

by non-parties RPX Corporation and Dr. Michael Farmwald. After disclaimer of the

challenged claims (nos. 1, 82, 90–91), the IPR was terminated.

         Asserted U.S. Patent No. 7,292,835 is the subject of IPR2021-00985, filed by

non-parties Hisense, TCL, and ZyXEL, and IPR2022-00246, filed by non-party LG. 1

IPR2021-00985 resulted in a Nov. 17, 2022 final written decision that found

challenged claims 1, 12–15, and 17–20 unpatentable. IPR2021-00985, Paper 44 at

99. Plaintiff appealed that decision to the Court of Appeals for the Federal Circuit

(Appeal No. 23-1417). Briefing on appeal is underway. No date has yet been set for




1
    LG was later joined as a party in IPR2021-00985.
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oral argument.

      There are no other known IPR, CBM, or PGR filings.

                 NUMBER OF ASSERTED PATENTS AND CLAIMS

      Plaintiff has asserted four patents. The asserted patent(s) are U.S. Patent

Nos. 6,049,706; 6,266,518; 7,292,835; and 8,660,513.

                   APPOINTMENT OF TECHNICAL ADVISOR

      The parties are unopposed to the appointment of a technical advisor to assist

the Court with claim construction or other technical issues.

                          MEET AND CONFER STATUS

      Plaintiff and Defendant conducted a meet & confer conference. The parties

have no pre-Markman issues to raise at the CMC hearing.



Dated: June 13, 2023                   Respectfully Submitted

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